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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW. YORK

DETROY LIVINGSTON,
Plaintiff, oc ,
PRISONERS CIVIL RIGHT COMPLAINT
PURSUANT TO. 42 U.S.C. :§1983.

V. Docket wo. VINCE (TH]DIS)
JURY TRIAL DEMANDED. . ,
U.S. DISTRICT COURT - N.D. OF N.Y.

—

ANTHONY J. ANNUCCL, CHRISTOPER
MILLER, H. ROBERTS, J. MOFFETT,
-JOHN DOE, individually and in

their official capacities. . - DEC 1 6 2020

‘Defendant...

AT O'CLOCK
John M. Domurad, Clerk ~ Syracuse

Plaintiff, Detroy Livingston in pro se makes this complaint
.against defendants Anthony J. Annucci, Christopher Miller, H. Roberts
J. Moffett, and John Doe, in their individual and official capaci-

ties, hereby alleges as follows:

PARTIES
1. Plaintiff, Detroy Livingston was in the custody of the New York
State Department of Correctional and Community Services (hereafter
DOGCS) and incarcerated at Great Meadow Correctional Facility at the
time the acts about which Plaintiff now complain occurred, and is a
member of the Rastafari religion.
2. Plaintiff attempted to exhaust all State remedies before he. filed ©
this 42 U.S.C. §1983 lawsuit, but non were available.

3. Upon information and belief defendant Anthony J. Annucci was em-

ployed’ by DOCCS as the acting commissioner at the time all the acts

about which plaintiff now complains occurred.
4. Upon information and belief defendant Christopher Miller was em-

pliyed by DOCCS as the superintendent of Great Meadow Correctional

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Facility at the time of the acts about which Plaintiff now complain

occurred.

5. Upon information and belief defendant H. Hoberts was employed by
poces as a ‘correction officer. (hereafter c.0.) at Great Meadow Cor-~
rectional Facility at the time of the acts about which Plaintiff :

- now complain occurred.

6. Upon. information and belief defendant J. Moffett was employed

by = -DOCCS as a c.o. at Great Meadow Correction Facility at the time
of the acts about which Plaintiff now complain occurred.

7. Upon information and belief defendant John Doe was employed by |
DOCCS as thesWatch Commander at the time all the acts about. which
Plaintifé. now complain occurred.

8. Each defendant is being sued individually and in his and her
official Capacity.-At all times ‘mentioned in this complaint each

defendants acted under the color of state law.

JoXTsDTcHTON

9. ‘Jurisdiction is properly laid in this Court pursuant to 28 U.S.C.
§1343 since the action arises under provisions of the First and Four-

teenth Amendments of the U.S: Constitution, and under 42 U.S.C. §1983.

VENUE

10. Venue is properly placed in the Northern District of New York
because the acts giving rise to Plaintiff's current claims occurred
in the Northern District of New York, specifically at. the Great Mea-

dow Correctional Facility in Comstock, New York.

eee nee

- 11. On April 20, 2019, Plaintiff was in custody of DOCCS and incar-
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cerated at Great Meadow Correctional Facility.

12. At approximately 2 o'clock p.m. on April 20. 2019 c.o. H. Roberts
entered the room on the second floor of the school building, where >
Rastafari services was being held, and discontinued Plaintiff's re-
ligious practice.

13. On April 21, 2019, Plaintiff was given a misbehavior report
written by Defendant H. Roberts and endorsed by three (3) other

co's signatures, which stated that fasta services was cancelled be-
cause the facilitator did not show up per the policy and procedure

of Great Meadow Correction Facility and DOCCS regarding religious

services. See, Exhibit (A).

14. On June 8, 2019, at approximately 12:30 p.m. Plaintiff showed
defendant J. Moffett his call-out to attend Hasta services, and

without any explanation this defendant told Plaintiff he was not
going to his religious service. Plaintiff was not let out of the

cell to attend Rastafari services. See, Exhibit (B).

15. On April 20, 2019, defendant John Doe authorized the cancella-
tion of Plaintiff religious service due to DOCCS policies and pro-
cedures. -

16. Defendant Anthony J. Annucci as the acting commissioner of DOCGCS
is the maker and custodian of all the policies and procedures that
governs religious services in DOCCS.

17. Defendant Christopher Miller.as the superintendent of Great Mea-
dow Correction Facility is responsible for caring out the policies
and procedures that governs religious services.

18. Each and all of the acts of defendants alleged in this action

were done by defendants not as an individual, but under the color
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“and pretense of the statutes, regulations, policies, customs and
usage of the State of New York, and under the authority of the of-
fice of the commissioner of DOCCS, superintendent of Great Meadow
Correction Facility, and correction officers of Great Meadow Cor-
rection Facility of the State of New York.

FIRst CAUSE OF ACHION
Denial of Religious Practice by defendant Anthony J. Annucci

19. Plaintiff hereby repeats and realleges each and every allegations
contained in paragraphs 1-18 above as if: the same were fully set. forth
herein.

20. Defendant Anthony J. Annucci is now and was the duly appointed,
employed and acting commissioner of the DOCCS of the State of New
York.

21. Defendant Annucci wrongfully maintained at all time relevant
herein, policies, procedures, regulations and customs, which deprived
Plaintiff his right to practice his asta religion.

22. Defendant Annucci wrongfully caused Plaintiff's religious ser-
vices to be cancelled on April 20, 2019, because the inmate facili-
tator did not show up, which is a DOCCS policy and procedure.

-23. Defendant Annucci wrongfully mauntained these policies and re-
gulations that governed religious services, that if the inmate fa-
cilitator do not show up the religious services will be cancelled.
24. As a result, Plaintiff was denied his First and Fourteenth Amend-
ment rights to practice Rasta fari réligion by defendant Anthony J.
Annucci.—

25. The practice of the Rastafari religion requires Rastas attend .

their religious services.
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26. Plaintiff has been prohibited from. freely practicing his reli-
gion by prison policies and xegulations maintained by defendant An-
nucci.-

27. The prison polies and regulations operated to impede the access

to religious services by severely Limiting Plaintiff’ S participation.

SECOND CAUSE OF ACTION.
Denial of Religious ‘Practice by Defendant Christopher Miller

28. Plaintiff hereby repeats and realleges: each and every allegations
contained in | paxagraphs 1-24 above as if the same were fully set forth
herein.

29. Defendant Christopher Miller is now and at all times material to
this action was the duly appointed, employed superintendent of Great
Meadow Correction Facility. -

30. Defendant Miller wrongfully maintained at all time relevant here-
- in, policies, procedures, regulations and customs, which deprived
Plaintiff his right to practice his Rasta religion.

31. Defendant Miller. wrongfully caused Plaintiff religious services
to be cancelled on April 20, 2019, because he maintained policies

and regulations that. cancel religious: services when the inmate fa-
cilitator do not show up.

32. Defendant Miller wrongfully maintained policies and regulations
that governed religious services, which cancel religious services
when the inmate facilitator do not show up.

33. As a result, Plaintiff was denied his First and Fourteenth Am-
endment rights to practice Rastafari religion by defendant Chiris-

topher Miller.

THIRD CAUSE OF ACTION

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Denial of Religious Practice by Defendant John Doe.

34. Plaintiff hereby repeats and realleges each and every allegations
contained in paragraphs 1-32 above as if the same were fully set forth
herein.

35. Defendant John Doe is now and at all times material to this action
was the duly appointed, employed as the watch commander on April 20,
2019, at approximately 2 o'clock pem., in Great Meadow Correction Faci-
lity.

36. Defendant John Doe wrongfully authorized the cancellation of Rasta
services on April 20, 2019, per the policy and procedure of DOCCS xe-
garding religious services.

37. The prison policies and regulations defendant John Doe relied. on
operated to impede the access to religious services by severely limi-
ting Plaintiff's participation in Rasta-service.

‘FOURTH GAUSE OF ACTION oo.
Denial of Religious Practice by Defendant H. Roberts.

38. Plaintiff hereby repeats and realleges each and every allegations
contained in paragraphs 1-37 above as if the same were fully set forth
herein. .

39. Defendant H. Roberts on April 20, 2019, at approximately 2 o'clock
p.m., in Great Meadow Correction Facility limited Plaintiff ability to
practice his religion by actively cancelling Rasta service.

40. Defendant H. Roberts relied on the unconstitutional DOCCS policy
and regulation to violate Plaintiff's First and Fourteenth Amendment
rights to attend his religious services on April 20, 2019.

41. Defendant H. Roberts wrote a bogus misbehavior report in an attempt
‘to justify denying Plaintiff's his right to attend Rasta service on

April 20, 2019.
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42. Defendant H. Roberts caused Plaintiff to be confined in solitary
confinement for eight (8) days on occasions as punishment for effor-

ting to freely practice his religion.

FIFTH CAUSE OF ACTION
Denial of Religious Serices by Defendant J. Moffett.

43. Plaintiff hereby repeats and realleges each and every allegations
contained in paragraphs 1-42 above as if the same were fully set forth
herein.

44. Defendant J. Moffett on June 8, 2019, at approximately 12:30 p.m.,
directly told Plaintiff that he will not put his cell location on the
call-out list, so that he may attend Rasta services.

45. Because of defendant J. Moffett's action Plaintiff was not let out
of the cell that he may attend Rastafari services on June 8, 2019.

46. Defendant J. Moffett violated Plaintiff's constitutional rights to

practice his religion for no legitimate reason.

REQUEST FOR RELIEF

WHEREFORE, plaintiff Detroy Livingston, pray this Court issue
judgment in his favor for compensatory damages against each defendants
in the amount of five hundred thousand dollars($500,000).

AND, granting plaintiff punitive damages against each defendant in the
amount of one million dollars($1,000,000).
Totalling: Seven Million five hundred thousand dollars($7,500,000).

AND, for any other relief this Court may deem just, proper and equi-

Detroy Livingston, Pye se 7

able.

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VERIFICATION

STATE OF NEW YORK )
COUNTY OF WASHINGTON )Sss:.:

Detroy Livingston _ - being duly sworn, deposes and says that deponent is the
petitioner in the above captioned proceeding, that he has read the foregoing petition and
knows the contents thereof, that the same is true to deponent’s own knowledge, except as to

matters therein stated upon information and belief, which matters deponent believes to be true.

Respectfully submitted

Detroy Livings idm} ['7t0985°
Great Meadow Correctional Facility

P.O. Box 51
Comstock, New York 12821

Sworn to before me on this

* day of Alatah20.Z0

Notary Public

DANIEL R. McCLENNING

. i Yo
Notary Public, State of New
sNashington County #01 MC6384442

Commission Expires Dec. 10, 20.
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EXHIBIT
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Ode STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION ~~ .
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Great Meadow - Correctional Facility -
INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO
1, NAME OF INMATE (Last, First) ¢ NOMBRE DEL RECLUSO (Apellido, Nombre) NO. ¢ NUM. HOUSING LOCATION ¢ CELDA |
Livingston, Detroy - 87T0985 ' A-5-29
2. LOCATION OF INCIDENT ¢ LUGAR DEL INCIDENTE : INCIDENT DATE ¢ FECHA INCIDENT TIME ¢ HORA
, School 2nd of 4/20/2019 _ approx 2:00pm
3, RULE VIOLATION(S) ¢ VIOLACION/ES - .
106.10- Direct Order —
109.10-Out of Place

{104.12-Demonstration
4. DESCRIPTION OF INCIDENT ¢ DESGRIPCION DEL INCIDENTE

On the above date and approximate time Inmate Livingston, D 87T0985 was given several direct
orders by staff to leave the Rastafarian services in the school due to the fact that there was no

- facilitator present. Inmate Livingston refused direction and did not comply, by remaining seated.
along with 24 other inmates. The area supervisor, and watch commander was notified that the
‘Rastafarian facilitator did not show to Rasta services, the watch commander gave authorization to
close the services per the policy and. procedure of the religious services. If the facilitator does not.
show, the service is to be cancelled. After several minutes, Inmate Livingston eventually complied ©
with Staff direction, and exited the room with no further incident.

REPORT DATE # FECHA REPORTED BY # NOMBRE DE LA PERSONA QUE HACE EL INFORME|SIGNATURE ¢ RMA TITLE # TITULO
4/20/2019 H. Roberts a C.0.

5. ENDORSEMENTS OF OTHER EMPLOYEE WITNESSES (if any) . SIGNATURES :

ENDORSOS DE OTROS EMPLEADOS TESTIGOS (gi hay) FIRMAS : / .
2 Ld a a C0. go
LZ

NOTE : Fold back Page 2 on. dotted line before 'e completing below.

DATE AND TIME SERVED UPON INMATE : NAME AND TITLE OF SERVER
FECHA Y HORA DADO AL RECLUSO : NOMBRE Y TITULO DEL QUE ENTREGA

You are hereby advised that no statement made by you in response to the charges or information derived therefrom may be used against you in a criminal
proceeding. ¢ Por este medio se le informa que no se puede usar ninguna declaracion hecha por usted como repuesta a cargo o la informacion derivada
_ de ella en una demanda criminal. -

NOTICE ¢ AVISO
(REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY)

You are hereby notified that the above report is a formal charge and will be considered and determined at a hearing te be held. + Por este medio se le notifica
que eal informe anterior es un cargo formal el cual se considerara y determinara en una audiencia a celebrarse.

Thé inmate shall be permitted to call witnesses provided that so doing does not jeopardize institutional safety or correctional goals. # Se le permitira al recluso
llamar testigos con tal de que aj hacerlo no pondra en peligro la seguridad de la institucion o los obiectivos del Deparmento.

If restricted pending a hearing for this misbehavior report, you may write to the Deputy Superintendent for Security or his/her designee prior to the hearing to
make a statement on the need for continued prehearing confinement. ¢ Si esta restringido pendiente a una audiencia por este informe del mal comportamiento
puede escribirle al Diputado del Superintendente para Seguridad o su representante antes de la audiencia para que haga una declaracion acerca de la
necesidad de continuar bajo confinamiento, previo a al audiencia.

Distribution: WHITE - Disciplinary Office CANARY - Inmate (After review) ¢ Distribucion: BLANCA - Oficina Disciplinaria AMARILLA - Recluso (despues de la resion)
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- EXHIBIT
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WITNESS AFFIDAVIT

STATE OF NEW YORK)
COUNTY OF WASHINGTON) ss. :

I, Gabriel Gilmore, being duly sworn, deposes and states that
on Jume 8, 2019 while waiting on the A5-28 cell gate, c.o. Moffett
told my next cell (A5=29) neighbor to remove his religious head gear
when he was. locked in the cell. When this same c.o. was taking the
yard and call-out list, I observed and saw Detroy Livingston #87-T-
0985 request to attend Rasta service, and this C.0. told him he is
not going. This c.o. did not give any explanation. When call-out was
announced on ‘the Loudspeaker to be ran Livingston > was not det out of
cell 29. In fact, he was not let out of the cell to go to chow, yard

or use the telephone that entire weekend.

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¢ }

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la H alke tll os x “y thrower.

Gabriel Gilmore #04-B-0387.

Great Meadow Correction Facility
Box. 51

Comstock, N. Y. 12821

Sworn to before me this

3 day of -\ula 2019
3 5

\
ant DEM ermine

Notary

‘Ss

DANIEL R. MeCLENNING
Notary Public, State of New Yar
‘Washington County #01 MCG384442,
Commission Expires Dec. 10, 20.cc.
